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              EXHIBIT 2
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                                                                                     6/21/2024 9:01 PM
                                                                                         Velva L. Price
                                                                                         District Clerk
                                                                                        Travis County
                                 NO. D-1-GN-18-001835                                D-1-GN-18-001835
                                                                                           Daniel Smith
NEIL HESLIN and SCARLETT LEWIS,                  §      IN THE DISTRICT COURT
     Plaintiffs                                  §
                                                 §
vs.                                              §      TRAVIS COUNTY, TEXAS
                                                 §
ALEX E. JONES and                                §
FREE SPEECH SYSTEMS, LLC,                        §
     Defendants                                  §      261st JUDICIAL DISTRICT

                   ORIGINAL PETITION IN INTERVENTION
                 AND EMERGENCY MOTION TO RECONSIDER

       Intervenors David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden,

Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M.

Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, Robert Parker, and Erica

Ash (collectively, the Connecticut Families or Intervenors) bring this Petition in

Intervention and Emergency Motion to Reconsider and respectfully show:

                               I.     INTRODUCTION

       1.     By Plaintiffs’ Application for Turnover Order (the Turnover Application),

Plaintiffs Neil Heslin and Scarlett Lewis (the Texas Families) request that the District

Court of Travis County, Texas (the Court) turnover “all property” of Free Speech Systems,

LLC (FSS). Because the Connecticut Families believe that FSS’s property should be fairly

and equitably distributed among FSS’s creditors and because the request is in direct

contravention of a very recent order by the United States Bankruptcy Court for the

Southern District of Texas (the Bankruptcy Court) dismissing FSS’s bankruptcy case, the

Court should, at a minimum, reconsider its order granting the request until all parties in

interest are heard on the Turnover Application. Although the order submitted by the

Texas Families states that “[t]he Court has considered Plaintiffs’ Application for Turnover




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Order and any response and arguments by the parties’ counsel,” the latter has not yet

happened, and the Connecticut Families seek an opportunity to be heard on the order.

       2.     The Connecticut Families are, by far, FSS’s largest creditors.           The

Connecticut Families hold more than 95% of liquidated claims—totaling in excess of

$1.4 billion—against FSS.    Accordingly, the Connecticut Families have a significant

interest in any assets of FSS and in the resolution of the Turnover Application. Moreover,

unlike the Texas Families, the Connecticut Families have not received any distributions

or other payments from FSS in the over two years since their judgments against FSS were

rendered.

       3.     The Connecticut Families believe that any property of FSS should be

distributed to FSS’s creditors—of which the Connecticut and Texas Families compromise

the majority—in a fair and equitable manner. Immediately turning over all of FSS’s

property to the Texas Families (who by their Turnover Application, evidently do not share

this same goal) would, of course, frustrate any attempts to ensure an equitable

distribution of FSS’s property among FSS’s creditors.

       4.     Moreover, granting the Turnover Application would be contrary to the order

entered in FSS’s bankruptcy case contemplating that the chapter 7 trustee (the Trustee)

would take control of FSS’s key assets. Just earlier today, the Bankruptcy Court issued its

order dismissing FSS’s bankruptcy case, a true and correct copy of which is attached as

Exhibit A, Order Dismissing Case, Case No. 22-60043 [Docket No. 956] (the Dismissal

Order). The Dismissal Order authorizes FSS’s chief restructuring officer (the CRO) to

“transfer control and signing authority with respect to the Debtor’s bank accounts to

Christopher R. Murray in his capacity as the Chapter 7 Trustee for the bankruptcy estate

of Alexander Jones.”      Dismissal Order ¶ 2.      Accordingly, the Dismissal Order



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contemplates that the Chapter 7 Trustee will be responsible for FSS assets; not that

individual creditors would immediately take the reins. Granting the relief requested by

the Turnover Application would be directly contradictory to the dismissal contemplated

by the Dismissal Order.

       5.     Further, granting this relief would of course significantly frustrate the

Chapter 7 Trustee’s ability to effectuate his mandate of consummating an orderly and

equitable liquidation of the bankruptcy case of Alexander E. Jones (Jones). Because the

Chapter 7 Trustee now holds 100% of the equity of FSS in trust for Jones’s creditors,

placing all the assets of FSS into the hands of the Texas Families would, necessarily, gut

any other creditors’ ability to recover any distributions from the largest asset of the Jones

estate—FSS. Not only would this remove the Connecticut Families’ ability to recover from

FSS, it would also meaningfully reduce their ability to obtain distributions in Jones’s

chapter 7 bankruptcy case and eviscerate the very protections that a chapter 7 case is

intended to provide to creditors.

       6.     The Texas Families’ failure to apprise the Court through their Turnover

Application that FSS’ bank accounts are, by order of the Bankruptcy Court, in the custody

and control of the Chapter 7 Trustee, and their failure to formally notice their Turnover

Application to the Connecticut Plaintiffs is grounds alone to reconsider and vacate any

order granting the relief they sought.

       7.     The Connecticut Families submit that any turnover of FSS property should

prioritize fair and equitable distributions to creditors. Accordingly, the Connecticut

Families respectfully request that the Court reconsider its ruling granting the relief

requested by the Turnover Application, and delay deciding the Turnover Application until

parties in interest are able to be heard on the Turnover Application.



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                                    II.   PARTIES

      8.     Intervenors David Wheeler and Francine Wheeler are individuals and the

parents of first-grader Benjamin Wheeler. Benjamin was killed in the Sandy Hook

Elementary School shooting on December 14, 2012. They reside in Connecticut.

      9.     Intervenors Jacqueline Barden and Mark Barden are individuals and the

parents of first-grader Daniel Barden. Daniel was killed in the Sandy Hook Elementary

School shooting on December 14, 2012. They reside in Connecticut.

      10.    Intervenors Nicole Hockley and Ian Hockley are individuals and the parents

of first-grader Dylan Hockley. Dylan was killed in the Sandy Hook Elementary School

shooting on December 14, 2012. They reside in Connecticut.

      11.    Intervenor Jennifer Hensel is an individual and the parent of first-grader

Avielle Richman. Avielle was killed in the Sandy Hook Elementary School shooting on

December 14, 2012. Ms. Hensel resides in Connecticut.

      12.    Intervenor Donna Soto is the mother, and intervenors Carlee Soto-Parisi,

Carlos M. Soto, and Jillian Soto-Marino are the siblings, each of whom are individuals, of

first-grade teacher Victoria Leigh Soto. Vicki was killed in the Sandy Hook Elementary

School shooting on December 14, 2012. They reside in Connecticut.

      13.    Intervenor William Sherlach is an individual and was the spouse of Mary

Sherlach, the school psychologist. Mary was killed in the Sandy Hook Elementary School

shooting on December 14, 2012. Mr. Sherlach resides in Connecticut.

      14.    Intervenor Robert Parker is the father of first-grader Emilie Parker. Emilie

was killed in the Sandy Hook Elementary School shooting on December 14, 2012. He

resides in Washington state.




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        15.      Intervenor William Aldenberg was a first responder to Sandy Hook

Elementary School on December 14, 2012. He resides in Massachusetts.

        16.      Intervenor Erica Ash (formerly Eric Lafferty) is an individual and the

daughter of Sandy Hook Elementary School Principal, Dawn Hochsprung. Dawn was

killed in the Sandy Hook Elementary School shooting on December 14, 2012. Ms. Ash

resides in Connecticut.

        17.      This Petition in Intervention will refer to these families and one first

responder as the “Connecticut Families.”

        18.      Plaintiffs Neil Heslin and Scarlett Lewis are individuals and the parents of

first-grader Jesse Lewis. Jesse was killed in the Sandy Hook Elementary School shooting

on December 14, 2012. They reside in Connecticut.

        19.      Defendant Alex E. Jones is a resident of Austin, Texas. He has appeared

herein for all purposes.

        20.      Defendant Free Speech Systems, LLC is a Texas limited-liability company.

It has appeared herein for all purposes.

        21.      This Complaint will refer to Alex Jones and Free Speech Systems, LLC as

“the Jones Defendants.”

                             III.   DISCOVERY-CONTROL PLAN

        22.      Discovery should be conducted under Level 3 case of the Texas Rules of Civil

Procedure.1 Intervenors seek monetary relief over $1,000,000.2




1 See TEX. R. CIV. P. 190.

2 See TEX. R. CIV. P. 47.




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                            IV.     JURISDICTION AND VENUE

        23.     The amount in controversy exceeds the Court’s minimum jurisdictional

requirements.

        24.     Venue is proper in Travis County because it is where certain Defendants

resided when the cause of action accrued and because all or a substantial part of the events

or omissions giving rise to the claims occurred in Travis County.3

                                       V.      TIMELINESS

        25.     Intervenors are entitled to file this petition after judgment because they are

not attacking the judgment but instead seek protection of property interests under Texas

Civil Practice & Remedies Code Section 31.002. See Breazeale v. Casteel, 4 S.W.3d 434,

436 (Tex. App.—Austin 1999, pet. denied) (permitting post-judgment intervention to

protect interest in property subject to turnover motion).

                    VI.     INTERVENORS’ INTEREST IN LAWSUIT

        26.     A party may intervene if it has a justiciable interest in the lawsuit. A party

has a justiciable interest in a lawsuit when its interests will be affected by the litigation. 4

A party may intervene in a suit if it could have brought all or part of the same suit in its

own name.5

        27.     The Connecticut Families own a judgment against Free Speech Systems,

LLC (the Connecticut Judgment). The Connecticut Judgment comprises fifteen (15)

separate debts owed to the Connecticut Families totaling $1,438,139,555.94.




3 See TEX. CIV. PRAC. & REM. CODE § 15.002.

4 In re Union Carbide Corp., 273 S.W.3d 152, 155 (Tex. 2008).

5 Nghiem v. Sajib, 567 S.W.3d 718, 721 n.16 (Tex. 2019).




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         28.    Under the Full Faith and Credit Clause of the United States Constitution

and the Uniform Enforcement of Judgments Act (UEFJA) codified in Chapter 35 of the

Texas Civil Practice and Remedies Code, the Connecticut Judgment is entitled to the same

recognition as the judgment owned by the Texas Families.              The Texas Families’

Application for Turnover Order affects the Connecticut Families’ interests, as the

Connecticut Families also seek to collect on their judgment against FSS. The Application

for Turnover Order seeks to substantially deprive them of their ability to collect and

disregards the opportunity for an equitable distribution of assets that the Connecticut

Families have dedicated their time to pursuing against the Jones Defendants.

                                   VII.   CAUSES OF ACTION

         29.    By their suit, the Texas Families seek an order turning over all of FSS’s

property. Because the Connecticut Families own a judgment that is entitled to full faith

and credit in Texas and because the Connecticut Families are FSS’ largest creditors, the

Connecticut Families are likewise entitled to relief under Texas’ turnover statute. 6

                   VIII. EMERGENCY MOTION TO RECONSIDER

         30.    The Connecticut Families’ respectfully request that the Court reconsider its

order granting the relief sought in Plaintiffs’ Application for Turnover Order, vacate such

order, and delay deciding the Turnover Application until parties in interest are able to be

heard.

                             IX.        CONDITIONS PRECEDENT

         31.    All conditions precedent to the Connecticut Families’ claims for relief have

been performed or have occurred or have been waived.



6 TEX. CIV. PRAC. REM. CODE § 31.002.




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                                        PRAYER

       For these reasons, Intervenors respectfully request that that the Court reconsider

its ruling granting the relief requested by the Turnover Application, and delay deciding

the Turnover Application until parties in interest are able to be heard on the Turnover

Application. Intervenors further pray for all such other and further relief to which they

may be entitled, at law or in equity.

       Respectfully submitted this 21st day of June 2024.


                                                /s/ Ryan E. Chapple
                                         Ryan E. Chapple
                                         State Bar No. 24036354
                                         rchapple@cstrial.com
                                         CAIN & SKARNULIS PLLC
                                         303 Colorado Street, Suite 2850
                                         Austin, Texas 78701
                                         512-477-5000
                                         512-477-5011—Fax
                                         ATTORNEY FOR THE
                                         CONNECTICUT FAMILIES

                             CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Original Petition in
Intervention and Emergency Motion to Reconsider has been forwarded to all counsel of
record in accordance with the Texas Rules of Civil Procedure on this 21st day of June
2024, via efiletxcourts.gov.


                                               /s/ Ryan E. Chapple
                                         Ryan E. Chapple




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                                                                          United States Bankruptcy Court
                                                                              Southern District of Texas

                                                                                   ENTERED
                                                                                 June 21, 2024
                 IN THE UNITED STATES BANKRUPTCY COURT
                                                                              Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

IN RE:                                      §
                                            §       CASE NO: 22-60043
FREE SPEECH SYSTEMS LLC,                    §                                        EXHIBIT
                                            §
           Debtor.                          §                                             A
                                            §
                                            §       CHAPTER 11

                             ORDER DISMISSING CASE
      For the reasons stated on the record at the hearing held on June 14, 2024, this
case is dismissed. It is further ORDERED:
      1.     The employment of all professionals retained in these chapter 11 cases
and the Subchapter V Trustee’s service is terminated. Except as otherwise set forth
below, the Debtor’s CRO shall have no further responsibilities with respect to the
Debtor’s operations.
      2.      The CRO is authorized to transfer control and signing authority with
respect to the Debtor’s bank accounts to Christopher R. Murray in his capacity as
the Chapter 7 Trustee for the bankruptcy estate of Alexander Jones, Case No. 22-
33553.
       3.      Final applications for compensation shall be filed no later than 14 days
after entry of this Order.
      4.       This Court shall retain exclusive jurisdiction over the following
matters:
            a. Adversary Proceeding No. 24-3038, Elevated Solutions Group, LLC v.
               Free Speech Systems LLC, et al.;

            b. Adversary Proceeding No. 23-3127, Free Speech Systems LLC v. PQPR,
               Limited Holdings LLC, et al.;

            c. Adversary Proceeding No. 22-3331, Neil Heslin, et al. v. Alex E. Jones,
               et al.; and

            d. Applications for approval of professional fees and expenses.

      5.       The Court retains jurisdiction to interpret and enforce this Order.


             August
             June     02, 2019
                  21, 2024
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Scotti Beam on behalf of Ryan Chapple
Bar No. 24036354
sbeam@cstrial.com
Envelope ID: 89085461
Filing Code Description: Pleading (Intervention)
Filing Description: ORIGINAL PETITION IN INTERVENTION AND
EMERGENCY MOTION TO RECONSIDER
Status as of 6/24/2024 8:11 AM CST

Associated Case Party: NEIL HESLIN

Name                   BarNumber    Email                          TimestampSubmitted      Status

Mark D.Bankston                     mark@fbtrial.com               6/21/2024 9:01:05 PM    SENT

Avishay Moshenberg                  avi.moshenberg@mhllp.com       6/21/2024 9:01:05 PM    SENT

William R.Ogden                     bill@fbtrial.com               6/21/2024 9:01:05 PM    SENT



Associated Case Party: ALEXEJONES

Name                    BarNumber     Email                               TimestampSubmitted Status

Federico Reynal         24060482      areynal@frlaw.us                    6/21/2024 9:01:05 PM      SENT

T. Wade Jefferies                     twadejefferies@twj-law.com          6/21/2024 9:01:05 PM      SENT

Vickie Driver                         dallaseservice@crowedunlevy.com 6/21/2024 9:01:05 PM          SENT

Gus DavidOppermann                    oppermann@mdjwlaw.com               6/21/2024 9:01:05 PM      ERROR



Case Contacts

Name                   BarNumber Email                       TimestampSubmitted Status

Christopher W.Martin                martin@mdjwlaw.com 6/21/2024 9:01:05 PM         SENT



Associated Case Party: DAVIDWHEELER

Name                BarNumber Email                      TimestampSubmitted     Status

Ryan E.Chapple                rchapple@cstrial.com       6/21/2024 9:01:05 PM   SENT

Scotti Beam                   sbeam@cstrial.com          6/21/2024 9:01:05 PM   SENT

Benjamin Evans                bevans@cstrial.com         6/21/2024 9:01:05 PM   SENT
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EMERGENCY MOTION TO RECONSIDER
Status as of 6/24/2024 8:11 AM CST

Associated Case Party: DAVIDWHEELER

Benjamin Evans                  bevans@cstrial.com      6/21/2024 9:01:05 PM   SENT

Bethany Gingras                 bgingras@cstrial.com    6/21/2024 9:01:05 PM   SENT



Associated Case Party: FREE SPEECH SYSTEMS LLC

Name                BarNumber    Email                  TimestampSubmitted Status

Jacquelyn W.Blott                jblott@jblottlaw.com   6/21/2024 9:01:05 PM   ERROR
